                  IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                          GREENSBORO DIVISION
                             NO. 1:20CV00061

The Cincinnati Specialty Underwriters Ins. )
Co.                                        )
      Plaintiff                            )
                                             )
vs.                                          )
                                             )
Kuka Furniture, Inc., et al                  )     STIPULATION OF DISMISSAL
                                             )          WITH PREJUDICE
       Defendants.                           )
                                             )
                                             )
                                             )
                                             )

       COME NOW, Plaintiff and Defendants, by and through their respective counsel,

pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, and hereby

stipulate that this civil action is dismissed, with prejudice. The parties shall bear their

own fees, costs, and expenses.

       This the 5th day of August, 2020.

/s/ Deborah J. Bowers                             /s/ Alan M. Ruley
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      Case 1:20-cv-00061-CCE-JEP Document 14 Filed 08/05/20 Page 1 of 2
                           CERTIFICATE OF SERVICE

      I hereby certify that on August 5, 2020, I electronically filed the foregoing

Stipulation of Dismissal with the Clerk of Court using the ECF system, and

notification of such filing (which constitutes service of this document) will be sent

electronically by the ECF system to counsel of record for the parties who have

registered with that system.

      This the 5th day of August, 2020.

                                       /s/ Deborah J. Bowers
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                                          2


      Case 1:20-cv-00061-CCE-JEP Document 14 Filed 08/05/20 Page 2 of 2
